              Case 1:17-cv-00182-APM Document 3 Filed 03/01/17 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                OF THE DISTRICT OF COLUMBIA




                                                     )
GWENDOLYN MITCHELL,                                  )
                                                     )   Civil Action No.: 17-cv-00182-APM
           Plaintiff,                               )
                                                    )
v.                                                   )
                                                    )
HON. JANET L. YELLEN,                                )
                                                    )
                                                    )
       Defendant.                                   )
                                                    )

                                     AFFIDAVIT OF SERVICE

       I hereby affirm that on February 01, 2017, the Summons in the above-captioned matter
was served on fee to Charming D. Phillips, U.S. Attorney, U.S. Attorney’s Office,     Street,
N.W., Washington, D.C. 20530.The Acknowledgement of Receipt with Signature is attached.

           I hereby affirm under penalty of perjury that the foregoing statements are true and

correct.




Executed on                                              hiCam,LegaLAssistant
                                                         $’wick & Shapiro, P.C.
                                                         1
                                                          1101 15
                                                               th
                                                                   Street, N.W., Suite 205
                                                         Washington, DC 20005
                                                         (202) 842-0300
        Case 1:17-cv-00182-APM Document 3 Filed 03/01/17 Page 2 of 2




U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

Case 17-00182-APM



GWENDOLYN MITCHELL v .HON. JANET L. YELLEN


Summons to:         Channing D. Phillips, U.S. Attorney
                    U.S. Attorney’s Office
                    55 4th
                           Street, N.W.
                    Washington, D.C. 20530



Received on:


Received by:                                      (Signature)
                                                  (Print Name)

               Office of the United States Attorney for the District of Columbia
               Civil Division
               555 4
                   th
                      Street, N.W.
               Washington, D.C. 20530


(Via Lasership Couriers)
